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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

HIGHLAND CAPITAL MANAGEMENT,                             §
                                                         §
L.P.,
                                                         §
                                                         §      Civil Action No. 3:21-CV-0881-X
          Plaintiff,
                                                         §
                                                         §      Consolidated with:
v.
                                                         §                     3:21-CV-0880-X
                                                         §                     3:21-CV-1010-X
NEXPOINT ASSET MANAGEMENT,
                                                         §                     3:21-CV-1378-X
L.P., (F/K/A HIGHLAND CAPITAL
                                                         §                     3:21-CV-1379-X
MANAGEMENT FUND ADVISORS,
                                                         §                     3:21-CV-3160-X
L.P.), et al.,
                                                         §                     3:21-CV-3162-X
                                                         §                     3:21-CV-3179-X
          Defendants.
                                                         §                     3:21-CV-3207-X
                                                         §                     3:22-CV-0789-X

             ORDER ADOPTING REPORT AND RECOMMENDATION

      After the Court consolidated several cases, including 3:21-CV-1010-X (the

“Underlying Case”),1 it ordered any party that had a pending motion in the

consolidated cases to renew that motion on the docket of the lead case,

3:21-CV-0881-X.2 Defendant James Dondero renewed one such motion. He moves for

entry of an order on his pending objection to the Bankruptcy Court’s report and

recommendation in the Underlying Case.3 [Doc. 31].

      In that report and recommendation, the Bankruptcy Court recommends that

the Court grant Dondero’s motion to withdraw the reference when the Bankruptcy




      1   Doc. 24.
      2   Doc. 25.
      3   Dondero originally filed this objection at Doc. 3 in the Underlying Case.



                                                   1
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Court certifies that this action is ready for trial and, in the meantime, defer all

pretrial matters to the Bankruptcy Court.4

      The Court finds that the Bankruptcy Court’s familiarity with the facts and the

parties make it well-situated to handle pretrial matters in this case. The Court

further finds that allowing the Bankruptcy Court to handle pretrial filings will

further both judicial economy and the important goal of uniformity and efficiency in

bankruptcy administration.

      Therefore, the Court ACCEPTS the recommendation. This case is hereby

REFERRED for pretrial management to the United States Bankruptcy Court.

When the Bankruptcy Court concludes that this case is ready for trial, it should notify

the Court, and the Court will then withdraw the reference.

      IT IS SO ORDERED, this 6th day of July, 2023.



                                                      ____________________________________
                                                      BRANTLEY STARR
                                                      UNITED STATES DISTRICT JUDGE




      4   The Bankruptcy Court filed its report and recommendation at Doc. 2 in the Underlying Case.



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